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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                                       MDL No. 2804



                                        (SEE ATTACHED SCHEDULE)



                          CONDITIONAL TRANSFER ORDER (CTO í101)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,523 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                                  FOR THE PANEL:


                      Jul 09, 2019
                                                                  John W. Nichols
                                                                  Clerk of the Panel




         I hereby certify that this instrument is a true and correct copy of
         the original on file in my office. Attest: Sandy Opacich, Clerk
         U.S. District Court, Northern District of Ohio
         By: /s/Robert Pitts
         Deputy Clerk
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                              MDL No. 2804



                 SCHEDULE CTOí101 í TAGíALONG ACTIONS



 DIST     DIV.      C.A.NO.     CASE CAPTION


GEORGIA MIDDLE

                                CITY OF DAWSON GEORGIA v. PURDUE
 GAM       1        19í00104    PHARMA LP et al
                                CITY OF WARWICK GEORGIA v. PURDUE
 GAM       1        19í00105    PHARMA LP et al
                                CITY OF LAKELAND, GEORGIA v. PURDUE
 GAM       7        19í00089    PHARMA LP et al
                                CITY OF NASHVILLE GEORGIA v. PURDUE
 GAM       7        19í00090    PHARMA LP et al

LOUISIANA MIDDLE

                                The University System of Louisiana v.
 LAM       3        19í00388    AmerisourceBergen Drug Corporation et al
                                Cameron Parish v. AmerisourceBergen Drug
 LAM       3        19í00390    Corporation et al

LOUISIANA WESTERN

                                Four Winds Tribe Louisiana Cherokee v. Purdue
 LAW       2        19í00760    Pharma L P et al
                                C L H GíAcadian L L C et al v. Purdue Pharma L P et
 LAW       5        19í00756    al

MICHIGAN EASTERN

  MIE      1        19í11769    County of Cheboygan v. Purdue Pharma L.P. et al

MISSOURI EASTERN
                                                                                Opposed 7/8/19
 MOE       4        19í01722    St. Francois County v. Dannie E. Williams, M.D. et al

NEVADA

  NV       2        19í01057    Boulder City v. Purdue Pharma L.P. et al
  NV       2        19í01058    City of Mesquite v. Purdue Pharma L.P. et al
  NV       2        19í01059
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                                Moapa Band of Paiute Indians v. Purdue Pharma L.P. et
                                al

OKLAHOMA NORTHERN

                                County Commission of Craig County, Oklahoma, The v.
 OKN       4        19í00317    Purdue Pharma, L.P. et al
                                County Commission of Payne County, Oklahoma, The
 OKN       4        19í00320    v. Purdue Pharma, L.P. et al

TENNESSEE EASTERN

                                Claiborne County, Tennessee v. Amerisourcebergen
  TNE      3        19í00231    Drug Corporation et al

VIRGINIA EASTERN
                                                                               Opposed 7/8/19
                                City of Fredericksburg, Virginia v. Purdue Pharma, L.P.
  VAE      3        19í00457    et al                                        Opposed 7/8/19
                                Prince George County, Virginia v. Purdue Pharma, L.P.
  VAE      3        19í00458    et al                                         Opposed 7/8/19
                                Greensville County, VA v. PURDUE PHARMA, L.P. et
  VAE      3        19í00459    al                                           Opposed 7/8/19
  VAE      3        19í00463    Mecklenburg County, VA v. Purdue Pharma L.P. et al

VIRGINIA WESTERN
                                                                               Opposed 7/8/19
 VAW       3        19í00037    Culpeper County, Virginia v. Purdue Pharma L.P. et al
 VAW       4        19í00029    Charlotte County, Virginia v. Purdue Pharma L.P. et al
                                                                                 Opposed 7/8/19
